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 1   Paul J. Cambria, Jr. (NY Bar No.1430909, admitted pro hac vice)
     Erin McCampbell Paris (NY Bar No. 4480166, admitted pro hac vice)
 2   LIPSITZ GREEN SCIME CAMBRIA LLP
 3
     42 Delaware Avenue, Suite 120
     Buffalo, New York 14202
 4   Telephone: (716) 849-1333
     Facsimile: (716) 855-1580
 5   pcambria@lglaw.com
 6   emccampbell@lglaw.com
     Attorneys for Michael Lacey
 7
     Gary S. Lincenberg (CA Bar No. 123058, admitted pro hac vice)
 8   Ariel A. Neuman (CA Bar No. 241594, admitted pro hac vice)
     Gopi K. Panchapakesan (CA Bar No. 279856, admitted pro hac vice)
 9
     BIRD, MARELLA, BOXER, WOLPERT, NESSIM,
10   DROOKS, LINCENBERG & RHOW PC
     1875 Century Park East, 23rd Floor
11   Los Angeles, California 90067-2561
12
     Telephone: (310) 201-2100
     Facsimile: (310) 201-2110
13   glincenberg@birdmarella.com
     aneuman@birdmarella.com
14   gpanchapakesan@birdmarella.com
15   Attorneys for John Brunst

16   [Additional counsel listed on next page]
17

18                             IN THE UNITED STATES DISTRICT COURT
19                                 FOR THE DISTRICT OF ARIZONA
20

21   United States of America,                     NO. CR-18-00422-PHX-DJH

22               Plaintiff,                        DEFENDANTS’ RESPONSE TO
     vs.                                           GOVERNMENT’S OBJECTIONS TO
23
                                                   ADMISSION OF EVIDENCE
24   Michael Lacey, et al.,

25               Defendants.
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     Eric Kessler (AZ Bar No. 009158)
 1
     KESSLER LAW GROUP
 2   6720 N. Scottsdale Rd., Suite 210
     Scottsdale, AZ 85253
 3   Telephone: (480) 644-0093
     eric@kesslerlawgroup.com
 4
     Attorney for Scott Spear
 5
     Bruce Feder (AZ Bar No. 004832)
 6   FEDER LAW OFFICE PA
 7   2930 E. Camelback Road, Suite 160
     Phoenix, Arizona 85016
 8   Telephone: (602) 257-0135
     bf@federlawpa.com
 9   Attorney for Scott Spear
10
     David Eisenberg (AZ Bar No. 017218)
11   DAVID EISENBERG PLC
     3550 N. Central Ave., Suite 1155
12   Phoenix, Arizona 85012
13   Telephone: (602) 237-5076
     Facsimile: (602) 314-6273
14   david@deisenbergplc.com
     Attorney for Andrew Padilla
15

16   Joy Malby Bertrand (AZ Bar No. 024181)
     JOY BERTRAND ESQ LLC
17   P.O. Box 2734
     Scottsdale, Arizona 85252
18
     Telephone: (602)374-5321
19   Facsimile: (480)361-4694
     joy.bertrand@gmail.com
20   Attorney for Joye Vaught
21

22

23

24

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 1               Defendants, by and through their undersigned counsel, respond to the Government’s
 2   motion (Dkt. 1801), which seeks to preclude defense evidence of good faith that specifically
 3   rebuts the Government’s evidence and testimony introduced through Carl Ferrer.
 4   I.          It is black letter law that the defense has the right to cross-examine
 5               a government witness on the witness’s prior statements.
 6               “A basic rule of evidence provides that prior inconsistent statements may be used to
 7   impeach the credibility of a witness.” United States v. Bao, 189 F.3d 860, 865-66 (9th Cir.
 8   1999). Not only is a defendant entitled to cross-examine a government witness on prior
 9   inconsistent statements, the Jencks Act mandates that the government disclose such
10   statements to the defense to enable the defense to cross a witness on his or her prior
11   statements. See, e.g., United States v. Brumel-Alvarez, 991 F.2d 1452, 1458 (9th Cir. 1992)
12   (reversing conviction on basis that undisclosed prior statement would have been used to
13   impeach the witness and deprived defendants of exculpatory evidence). Simply put, when it
14   comes to prior statements of a witness, there is no exception to the right to cross-
15   examination. It is universally understood that the defense is entitled to cross-examine
16   a defendant on any prior statement, particularly, as here, when the prior statements address
17   the very issues put before the jury by the Government on its direct exam. Precluding
18   defense counsel from cross-examining Ferrer on his prior statements, including those made
19   under oath, will deprive Defendants of their right to a fair trial and create reversible error.
20   See Holley v. Yarborough, 568 F.3d 1091, 1099-1101 (9th Cir. 2009) (granting writ of habeas
21   corpus to a defendant who was barred from cross-examining a key government witness
22   about her prior statements).
23               Moreover, the Federal Rules of Evidence extend even further when the prior
24   statement at issue was made under oath as part of a prior court case. Indeed, a “prior
25   inconsistent statement may be offered to establish the truth of its assertion if it was
26   given under oath at a trial, hearing, or other proceeding, or in a deposition.” Bao, 189 F.3d at
27   866 n.1 (citing Rule 801(d)(1)(A) (emphasis added)). In these prior statements, Ferrer speaks
28   to the very allegations asserted in this case regarding moderation, Backpage’s terms of use,

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 1   and whether the ads on the site proposed acts of prostitution or were associated with
 2   prostitution. There is no limitation under the Rule that the prior trial, hearing, or proceeding
 3   concern the same charges as those at issue in the instant case.
 4               On these bases, the defense is entitled, as a matter of law, to cross-examine Ferrer on
 5   any of his prior statements, and to seek admission of those that he previously gave under
 6   oath under Rule 801(d)(1)(A) and as evidence of Defendants’ good faith reliance on the
 7   lawfulness of the operation of Backpage.
 8   II.         It is black letter law that the defense is allowed to cross-examine a government
 9               witness about any topic on which the government solicited testimony during
10               direct.
11               It is black letter law that when a litigant opens the door on a topic, “it is fair
12   advocacy” for the opposing party “to enter.” See United States v. Del Toro Barboza, 673 F.3d
13   1136, 1153 (9th Cir. 2012).
14               The government has repeatedly—each day at trial—elicited testimony from Ferrer
15   and has admitted exhibits through Ferrer that opened the door to the existence and results
16   of prior proceedings and litigation, including prior investigations of Backpage, grand jury
17   investigations, the Senate’s Permanent Subcommittee on Investigation’s hearing and report,
18   and testimony from Ferrer and other Backpage employees during these proceedings. The
19   attached chart (Exhibit A) details the government’s door opening through Ferrer. The
20   Defendants’ right to a fair trial requires that Defendants be allowed “to enter” each and
21   every door the government opened to elicit evidence of their good faith.
22               Further, the government has repeatedly elicited testimony regarding subpoenas in
23   “prostitution” cases, Ferrer’s testimony in those cases, assistance given to law enforcement,
24   and purported failures to disclose certain aspects of the Backpage business to law
25   enforcement. While the government has stipulated to the admission of many of the law
26   enforcement accolades the defense intends to introduce, it purports to dictate which
27   accolades the defense should be permitted to introduce and which are cumulative before the
28   defense even stands up to cross-examine Ferrer. That law enforcement commended

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 1   Backpage regarding their efforts to assist in the prosecution of wrongdoers is a central theme
 2   of the defense and directly negates an alleged intent to facilitate business enterprises involved
 3   in prostitution. The Court should not preclude evidence the government concedes is
 4   relevant before the defense even has an opportunity to present the evidence.
 5               Regarding evidence that Backpage notified law enforcement of ads on other sites, this
 6   evidence also negates intent, as it shows efforts on the part of Backpage to bring wrongdoers
 7   to justice. Backpage’s cooperation with law enforcement in this respect is inconsistent with
 8   the notion that it intended to facilitate business enterprises involved in prostitution. The
 9   government has also elicited through Ferrer that other websites, like Craigslist, had taken
10   actions to eliminate adult content from their site—the implication being that Backpage was
11   a bad actor by comparison. The proffered evidence would also rebut this charge.
12   III.        The Dart saga is plainly relevant to the Government’s claims of “credit card
13               Armageddon.”
14               As to the Backpage v. Dart litigation—which plays a central role in what the
15   government has called “credit card Armageddon”—the basis for the admission of exhibits
16   tied to Dart is set forth at Dkt. 1780 (Brunst’s opposition to the government’s motion for
17   curative instruction). In short, (1) in June 2015, Sheriff Dart of Cook County, Illinois sent
18   threatening letters to MasterCard and Visa (Gov. Exs. 459, 478); (2) within days, those credit
19   card companies terminated their relationships with Backpage (Ex. 6011); (3) Backpage then
20   sued Sheriff Dart in federal court in an attempt to get its credit card relationships back;
21   (4) Mr. Ferrer and Backpage communicated internally and with credit card
22   companies/processors regarding the litigation (Gov Ex. 1127, Ex. 6013, Ex. 6025); and
23   (5) on November 30, 2015, the Seventh Circuit Court of Appeals enjoined Sheriff Dart from
24   making further threats toward financial institutions with whom Backpage had a relationship
25   (Ex. 5104, cert. denied. Ex. 5106).
26               While Mr. Ferrer has artfully attempted to avoid a reference to “Dart” during his trial
27   testimony, he referenced Sheriff Dart during his interviews with the government (as
28   documented in FBI 302s produced to the defense) nearly 40 times, using phrases like the

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 1   “Dart credit card ban,” “Dart incident,” and “credit card· Armageddon/Dart incident.”
 2   Ferrer also testified today that he came to learn in July 2015 that Visa and MasterCard
 3   bowed to “pressure put on them.” That “pressure” was exerted by Dart, a fact which the
 4   government’s interviews of Ferrer and Ferrer’s contemporaneous emails show Ferrer
 5   understood. See Gov Exh. 1127 (July 1, 2015 e-mail from Ferrer to others at Backpage,
 6   stating, “[Mastercard] and Sheriff Dart are now deciding what is legal and illegal speech.
 7   [A]re now arbiters of legal speech. We have our legal team on it. We have a good track
 8   record on these issues.”); Exh. 6025 (July 21, 2015 email from Ferrer to Trent Voight [CEO
 9   of JetPay, a credit card processor] stating that, “If we win on Dart, then Visa has cover for
10   protected speech.”).
11               By putting at issue these credit card terminations in its indictment, opening
12   statement, and during Ferrer’s testimony, the government has opened the door to cross-
13   examination regarding (1) why the credit card companies terminated their relationships with
14   Backpage; (2) Ferrer’s understanding of the basis for those terminations (as reflected in
15   contemporaneous emails, prior statements under oath, and in his statements during
16   interviews to the government); and (3) what Backpage did in response, namely that it sued
17   Dart and ultimately prevailed.
18               That Backpage prevailed in Dart served to counteract any purported “notice” that the
19   credit card terminations were triggered by anything illegal that Backpage or Defendants were
20   doing, as opposed to illegal coercion on the part of a law enforcement official. Backpage.com,
21   LLC v. Dart, 807 F.3d 229, 230 (7th Cir. 2015) (Posner, J.) (“Visa and MasterCard bowed to
22   pressure from Sheriff Dart and others by refusing to process transactions in which their
23   credit cards are used to purchase any ads on Backpage, even those that advertise indisputably
24   legal activities.”) (emphasis in original); id. (“[W]hile [Dart] has a First Amendment right to
25   express his views about Backpage, a public official who tries to shut down an avenue of
26   expression of ideas and opinions through ‘actual or threatened imposition of government
27   power or sanction’ is violating the First Amendment.”) (quoting American Family Association,
28   Inc. v. City & County of San Francisco, 277 F.3d 1114, 1125 (9th Cir. 2002)); id. at 232 (Dart “is

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 1   intimating that two of the world’s largest credit card companies may be criminal
 2   accomplices” and that “Visa and MasterCard got the message and cut all their ties to
 3   Backpage.”) (emphasis in original).
 4               Ferrer submitted a declaration and was deposed in Dart. (Gov Exhs. 1629, 1687).
 5   He also submitted a declaration in another case in which he stated that Dart had “started
 6   a campaign against Backpage,” attaching the Dart opinion. Chilly Dil v. JetPay, Case No. 3:14-
 7   cv-02749 (N.D. Tex.). Ferrer was plainly aware of and relied on the Dart opinion at the
 8   time. Ferrer’s prior statements are directly relevant to impeach any testimony by Ferrer
 9   claiming that Defendants or Ferrer were operating in bad faith at the time.
10   IV.         It is reversible error to preclude the defense from admitting evidence of good
11               faith or evidence of state of mind/lack of intent.
12               It is well-settled that the Federal Rules of Evidence “reflect the fact that individuals
13   accused of criminal behavior should be permitted to present, within reason, the strongest
14   case they are able to marshal in their defense.” United States v. Thomas, 32 F.3d 418, 421 (9th
15   Cir. 1994) (“revers[ing] defendant’s conviction because the district court impermissibly and
16   prejudicially limited the evidence that this criminal defendant was entitled to present”
17   concerning his subjective intent). “[B]arring a defendant from presenting all evidence in
18   support of a cognizable defense, or from challenging an element of the crime, is structural
19   error.” See United States v. Smith-Baltiher, 424 F.3d 913, 922 (9th Cir. 2005) (reversing illegal
20   entry conviction because district court barred introduction of defendant’s mother’s U.S.
21   birth certificate and testimony of a mental health expert, which precluded the defendant
22   from negating an element of the charged crime as well as his defense of good faith belief that
23   he did not need documentation to enter).
24               A.     At a minimum, non-privileged letters and memoranda written by
25                      attorneys are admissible.
26               Evidence of non-privileged attorney opinions or letters and a defendant’s awareness
27   of that evidence is admissible to demonstrate defendants’ good faith and negate alleged
28   intent. For example, in Cheek v. United States, 498 U.S. 192 (1991), the Supreme Court

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 1   recognized that “forbidding the jury to consider evidence that might negate willfulness
 2   would raise a serious question under the Sixth Amendment’s jury trial provision.” Id. at 203.
 3   In that case, the defendant was charged with tax violations. He presented evidence in
 4   support of his defense that he did not willfully violate the law, including evidence that: he
 5   attended seminars sponsored by groups that claimed that the tax code was invalid; he
 6   attended presentations by attorneys wherein the attorneys expressed their opinion that the
 7   tax code was invalid; he possessed a letter written by one of those attorneys for the seminar
 8   attendees that expressed the view that taxing a person’s salary was incompatible with the
 9   Sixteenth Amendment; and that he relied on all of this information in declining to file or pay
10   taxes. See id. at 195-96. Rather than suggest that such evidence should be precluded, the
11   Supreme Court not only blessed the admission of this evidence, but indicated that the
12   district court’s erroneous instruction on willfulness prejudiced the defendant’s presentation
13   of his good faith defense.
14               Non-privileged attorney opinions or letters are admissible even if the defendant
15   does not seek or qualify for an advice-of-counsel jury instruction. For example, in United
16   States v. Munoz, 233 F.3d 1117 (9th Cir. 2000), the Ninth Circuit ruled that the denial of an
17   advice-of-counsel instruction was proper (where a good faith jury instruction was given).
18   However, the Ninth Circuit expressly ruled that the evidence at issue—attorney opinion
19   letters drafted by attorneys with whom the defendant never consulted and based on
20   inaccurate facts—were admissible and adequately covered under a general good faith
21   instruction. See id. at 1131-32; accord United States v. Frame, 236 F. App’x 15, 18-19 (5th Cir.
22   2007) (recognizing that evidence of Frame’s good faith and advice-of-counsel defenses were
23   presented and those theories were “central” to his closing, even though the court declined
24   his requested instructions); United States v. Way, 2018 WL 3062159, at *8 (E.D.C.A. 2018)
25   (“[T]he court concludes that evidence regarding this [attorney opinion] letter and defendant’s
26   awareness of its content are admissible on the question of whether defendant acted with a
27   culpable state of mind. Whether defendant is entitled to an advice-of-counsel jury
28   instruction will be resolved at the appropriate time during the court of trial”); United States v.

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 1   Brandner, 2016 WL 354866, at *2-3 (D. Alaska Jan. 28, 2016) (indicating that defendant was
 2   allowed to present evidence that he relied on advice of a disbarred attorney to argue good
 3   faith, even though he was unable to establish the prerequisites for an advice-of-counsel jury
 4   instruction).
 5               Moreover, attorney advice is admissible even when the court understands the defense
 6   at issue to be an “implicit or imperfect” advice-of-counsel defense. See United States v. Napoli,
 7   2011 WL 1302317, at *6 (N.D.C.A. Apr. 5, 2011); cf. United States v. Mieill, 2008 WL 5101313
 8   at *4 (N.D. Iowa Nov. 25, 2008) (denying government motion to preclude admission of
 9   evidence of good faith, even if the defendant’s evidence is “laughable” because the jury is the
10   entity to decide the weight to be assigned to good faith evidence). Again, Napoli
11   demonstrates that attorney opinions and letters are admissible regardless of whether the
12   defense asks for a formal instruction on advice of counsel.
13               For all these reasons, at a minimum, the non-privileged documents drafted by
14   attorneys that were known to the Defendants are admissible, including letters to Backpage
15   staff authored by Steven Suskin; responsive letters to the National Association of Attorneys
16   General and other governmental entities authored by attorneys, memoranda drafted by
17   attorneys for third parties; case pleadings drafted and filed by attorneys on behalf of
18   Backpage, and amicus briefing by civil rights organizations in support of Backpage’s right to
19   exist as a First Amendment protected platform for First Amendment protected speech,
20   particularly when the moderation, marketing (in the form of free offers to publish ads on
21   Backpage that were published elsewhere), and alleged “notice” evidence concerning
22   trafficking and prostitution, was in the public docket of these cases.
23               B.     Court decisions, statutes, and statements of public officials or entities
24                      known to the Defendants are admissible.
25               Information conveyed by a public official and a defendant’s awareness of that
26   information is not only admissible as to good faith, but exclusion of such evidence is
27   reversible error. See United States v. Certified Envirnmtl. Servs. Inc, 753 F.3d 72, 88-91 (2d Cir.
28   2014). In Certified Environmental Servs., the Second Circuit reversed the convictions because

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 1   the district court precluded presentation of three communications between the defendants
 2   and the New York Department of Labor: a telephone call, and email, and a Department of
 3   Labor Code Rule. See id. The Second Circuit rejected the claim that such evidence was
 4   inadmissible hearsay, ruling that “the statements were not hearsay since they were offered,
 5   not for their truth, but for their effect on defendants’ state of mind, which was very much in
 6   dispute. Id. at 89. The evidence at issue was highly relevant to “the question of the
 7   defendants’ intent and good faith.” Id. at 90. Moreover, although these communications did
 8   not address the specific conduct that allegedly violated the law, the first communication
 9   “concerned the nature of an ongoing regulatory requirement and, according to the
10   defendants, informed the creation of a consistent company policy,” much like the CDA
11   informed Backpage’s moderation policy. Id. The communication that postdated the
12   conspiracy was admissible as “evidence of the content of a longstanding continuous mental
13   process.” Id. at 90.
14               Notably, the Sixth Circuit has reversed Travel Act convictions when the jury
15   instructions precluded consideration of evidence of the defendant’s good faith attempt to
16   comply with law. In United States v. Stagman, 446 F.2d 489 (6th Cir. 1971), the defendant
17   sought to operate bingo games at a facility located across state lines in Kentucky. See id. at
18   490. The defendant’s “only defense is that he believed in good faith, and had reasonable
19   grounds for doing so, that the Flamingo bingo game was legal under Kentucky law.” Id.
20   The district court permitted the defendant to testify that “the Sheriff, Deputy Sheriff, and an
21   assistant Commonwealth’s Attorney . . . advised him that bingo games were legal, if certain
22   rules were observed,” and that “he and others associated with the Flamingo operation
23   complied with these rules.” Id. On appeal, the Sixth Circuit did not tether its reasoning to
24   whether the prerequisites of an advice-of-counsel defense were met. Instead, the Sixth
25   Circuit reversed the convictions because the district court’s jury instructions “precluded any
26   consideration of this defense.” Id. at 492. On retrial, the district court was instructed to not
27   only allow this evidence, but with instruction that “the defense of good faith attempts at
28   compliance should be submitted to the jury.” Id. at 493. The Court further elaborated that:

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 1                      [W]hen, as here, a defendant introduces evidence of good faith
                        attempts to comply with the law, a court has a clear obligation
 2                      to submit the issue of specific intent with explicit instructions to
                        the jury. It is then for the jurors to decide whether this
 3                      evidence has raised a reasonable doubt of the defendant’s guilt.
                        Our system of justice assumes that jurors can make the kinds of
 4                      judgements required here and can determine whether a
                        defendant’s asserted belief in the legality of his conduct is
 5                      implausible.
 6   Id. (emphasis added).
 7               Similarly, evidence that a defendant was aware of and relied on information found in
 8   a publicly available government document is admissible as evidence in support of a good
 9   faith theory of defense. See United States v. Caro, 454 F. App’x 817, 872-74 (11th Cir. 2012)
10   (expressing approval for district court’s use of model jury instruction on good faith made on
11   the basis of defendant’s presentation of review of a FINCEN advisory opinion regarding
12   reporting requirements).
13               Case law and statutes that a defendant was aware of and relied upon are admissible
14   and are relevant to a defendant’s state of mind in connection with specific intent crimes like
15   the Travel Act. See United States v. Powell, 955 F.2d 1206, 1213-14 (9th Cir. 1991) (recognizing
16   that case law and statutes known to and relied upon by a defendant are admissible and
17   relevant to the defendant’s state of mind and to the jury’s assessment of the sincerity of
18   those views).
19               For all these reasons, statements from government actors concerning the operation
20   of websites, and Backpage in particular—whether it be testimony, judicial decisions, case
21   pleadings filed on public dockets, or public announcements—and Defendants’ awareness of
22   those statements are admissible as evidence of good faith, lack of criminal intent, and state
23   of mind as a matter of law.
24   V.          Conclusion
25               For all these reasons, Defendants respectfully request that this Court grant the relief
26   requested herein and deny the government’s objections.
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 1               RESPECTFULLY SUBMITTED this 21st day of September, 2023,
 2                                             Paul J. Cambria, Jr.
                                               Erin McCampbell Paris
 3
                                               LIPSITZ GREEN SCIME CAMBRIA LLP
 4
                                               By:      /s/ Paul J. Cambria, Jr.
 5                                                      Paul J. Cambria, Jr.
                                                        Attorneys for Michael Lacey
 6

 7

 8   Pursuant to the District’s Electronic Case Filing Administrative Policies and Procedures Manual (Jan.
 9   2020) § II (C) (3), Paul J. Cambria hereby attests that all other signatories listed, and on whose behalf this
     filing is submitted, concur in the filing’s content and have authorized its filing.
10

11                                             Gary S. Lincenberg
                                               Gopi K. Panchapakesan
12                                             BIRD, MARELLA, BOXER, WOLPERT, NESSIM,
13                                             DROOKS, LINCENBERG & RHOW, P.C.

14                                             By:      /s/ Gary Lincenberg
                                                        Gary Lincenberg
15                                                      Attorneys for John Brunst
16
                                               Eric W. Kessler
17                                             KESSLER LAW OFFICE
18
                                               By:      /s/ Eric W. Kessler
19                                                      Eric W. Kessler
                                                        Attorneys for Scott Spear
20
                                               Bruce Feder
21
                                               FEDER LAW OFFICE, P.A.
22
                                               By:      /s/ Bruce Feder
23                                                      Bruce Feder
24                                                      Attorneys for Scott Spear

25                                             David Eisenberg
                                               DAVID EISENBERG, P.L.C.
26
27                                             By:      /s/ David Eisenberg
                                                        David Eisenberg
28                                                      Attorneys for Andrew Padilla

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 1
                                         Joy Bertrand
 2                                       JOY BERTRAND, ESQ.

 3                                       By:    /s/ Joy Bertrand
                                                Joy Bertrand
 4
                                                Attorneys for Joye Vaught
 5

 6   On September 21, 2023, a PDF version of this document was
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 7   for filing and for Transmittal of a Notice of Electronic
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 8   entered their appearance as counsel of record

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